
McCunn, J.
(concurring). This case, though very elaborately argued, is susceptible, as I understand it, of a simple solution. The contract speaks for itself. It is to sell and purchase by the respective parties one thousand shares of the capital stock of the Hudson River Railroad Company. This agreement is set out in the complaint as the foundation of the action. If either expressly nor by implication does- the contract impose upon the respondent an obligation to deliver to the appellants any thing beside these one thousand shares, nor confer on the appellants any other right than to demand and receive delivery of these same shares. And surely the rights and obligations inter se of the parties to the contract could not be affected by the action of strangers, i. &lt;?., the Hudson River Railroad Company. How, the respondent tendered performance of his agreement pursuant to its stipulations, and the offer having been rejected by the appellants, who, refused to accept fulfilment of the contract actually concluded between the parties, the respondent has a right to treat the contract as rescinded, and to claim a discharge from all its obligations. On these obvious and elementary principles, I think, the judgment below may be sustained, without the necessity of recourse to interferences and distinctions, which serve rather to obscure than to elucidate the decisive point in litigation.
